           Case 2:21-cv-03536-CFK Document 1 Filed 08/09/21 Page 1 of 7




                    IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF PENNSYLVANIA

                                           :
 AMBER WEEDEN aka JACK                     :
 ROSSI                                     :
 1842 E. Clearfield Street                 :
 Philadelphia, PA 19134                    :     Civil Complaint No.
                                           :
                       Plaintiff                 JURY TRIAL OF TWELVE (12) JURORS
                                           :
                  v.                             DEMANDED
                                           :
                                           :
 WAWA, INC.
                                           :
 Red Roof, 260 W. Baltimore Pike
 Wawa, Pennsylvania 19063                  :
                                           :
 and                                       :
                                           :
 JENNIFER LOWE, Individually,              :
 and in her official capacity as           :
 General Manager                           :
 Red Roof, 260 W. Baltimore Pike           :
 Wawa, Pennsylvania 19063                  :
                                           :
 and                                       :
                                           :
 BELINDA WILSON, Individually,             :
 and in her official capacity as Food
                                           :
 and Beverage Manager
                                           :
 Red Roof, 260 W. Baltimore Pike
 Wawa, Pennsylvania 19063                  :
                                           :
                         Defendants.       :
                                           :
                                           :
                                           :

                                CIVIL ACTION COMPLAINT

       Plaintiff, Amber Weeden aka Jack Rossi, by and through his undersigned attorneys,

complaining of Defendants, Wawa Inc., brings the instant action requesting judgment in his

favor, and against Defendants, and in support thereof, alleges, upon information and belief, as

follows:
            Case 2:21-cv-03536-CFK Document 1 Filed 08/09/21 Page 2 of 7




                                              PARTIES

    1.     Plaintiff, Amber Weeden aka Jack Rossi, is an adult individual, residing at the above-

captioned address. At all times material hereto, Mr. Rossi was employed by Defendant, Wawa,

Inc., as a Customer Service Associate.

    2.     Defendant, Wawa, Inc. (“Wawa”) is a privately owned chain of convenience stores

and gas stations located along the East Coast of the United States. Wawa headquartered at the

above-captioned address. Upon information and belief, Wawa is valued approximately $13

billion.

    3.     Defendant, Jennifer Lowe (Lowe), at all times material herein, acted individually, as

well as in her individual capacity as an agent, servant, workman, or employee of Wawa. At all

times material herein, Lowe was employed by Defendant as General Manager of the Wawa store

located at 2114 Church Road, Cinnaminson, NJ 08077.

    4.     Defendant, Belinda Wilson (Wilson), at all times material herein, acted individually,

as well as in her individual capacity as an agent, servant, workman, or employee of Wawa. At all

times material herein, Lowe was employed by Defendant as Food and Beverage Manager of the

Wawa store located at 2114 Church Road, Cinnaminson, NJ 08077.

                                   JURISDICTION AND VENUE

    5.     Jurisdiction over the matter is conferred upon the Court by 28 USC § 1331, as the

cause of action arises under federal law.

    6.      Venue is proper as the facts and transactions involved herein occurred in large part in

this judicial district.

    7.     Plaintiff reserves the right to amend this Complaint to include additional facts, claims,

and allegations upon exhaustion of administrative remedies.
             Case 2:21-cv-03536-CFK Document 1 Filed 08/09/21 Page 3 of 7




    8.     Plaintiff has exhausted her administrative remedies and obtained a Right to Sue Letter

from the EEOC. (Exh. A).

                                         STATEMENT OF FACTS

    9.     The above paragraphs are incorporated herein by reference.

    10.    Defendant, Wawa has subjected Plaintiff, to discrimination based on his gender.

    11.    Plaintiff began working for Defendant on or about April 4, 2019, as a Customer

Service Associate at one of its Philadelphia stores located at 4506-10 Castor Avenue.

    12.      Plaintiff is a transgender male. At all times material, Defendants were aware that

Plaintiff is transgender.

    13.    After approximately 6 months, Plaintiff was promoted to Lead Customer Service

Associate.

    14.    In or around March 2020, Plaintiff was transferred to the Wawa store located at 2114

Church Road, Cinnaminson, NJ 08077.

    15.    Defendant Wilson would force Plaintiff to perform her duties while she sat in the back

of the store. In or around May 2020, Plaintiff made a complaint to Defendant Lowe about what

Defendant Wilson was doing.

    16.    Shortly after making his complaint, Defendant Wilson began retaliating against

Plaintiff. Defendant Wilson would repeatedly refer to Plaintiff as “she.”

    17.    Defendant Wilson would ask store associates and customers if Plaintiff looked like a

boy or a girl.

    18.    On or about July 10, 2020, Defendant Wilson began throwing empty candy boxes at

Plaintiff for no reason.
           Case 2:21-cv-03536-CFK Document 1 Filed 08/09/21 Page 4 of 7




    19.    On or about July 17, 2020, Defendant Wilson intentionally rammed a rethermalizer

(commercial cooking equipment that uses hot water to heat frozen foods) which caused a frozen

bag of soup to fall on Plaintiff’s back.

    20.    Plaintiff complained to Defendant Lowe several times about what was happening and

nothing was ever done.

    21. On or about July 18, 2020, Plaintiff had no other choice but to resign from his position at

Wawa.

    22. The actions of Defendants have caused Plaintiff to suffer embarrassment, stress, anxiety,

financial loss.

                                  STATEMENT OF CLAIMS
                                        COUNT I
                              VIOLATION OF TITLE VII-GENDER

    23. The foregoing paragraphs are hereby incorporated herein by reference.

    24. By committing the foregoing acts of discrimination against Plaintiff, Defendant has

violated Title VII.

    25. Said violations were done with malice and/or reckless indifference and warrant the

imposition of punitive damages.

    26. As a direct and proximate result of Defendant’s violation of Title VII, Plaintiff has

suffered the damages and losses set forth herein and has incurred attorney’s fees and costs.

    27. Plaintiff is now suffering and will continue to suffer irreparable injury and monetary

damages as a result of Defendant discriminatory acts unless and until this Court grants the relief

requested herein.


                                   COUNT II
          VIOLATION OF THE PENNSYLVANIA HUMAN RELATIONS ACT (PHRA)

    28.    The above paragraphs are incorporated herein by reference.
           Case 2:21-cv-03536-CFK Document 1 Filed 08/09/21 Page 5 of 7




   29.    The above acts and practices of Defendant constitute unlawful discriminatory

employment practices under the PHRA.

   30.    As a result of Defendants’ discriminatory acts, Plaintiff has suffered and shall continue

to suffer monetary damages and damages for mental suffering and humiliation unless and until

the Court grants relief.

                                      COUNT III
                    INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
   31.    Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length

herein.

   32.    The actions of the Defendants’ were designed to emotionally harm Plaintiff by causing

him to subsist in an overwhelming, intimidating and hostile work environment.

   33.    The conduct of Defendants was intentional, oppressive, and malicious and/or in

wanton disregard of the rights and feelings of Plaintiff and constitutes despicable conduct, and

by reason thereof Plaintiff demands exemplary or punitive damages against Defendants in an

amount appropriate to punish him and to deter him and others from such conduct in the future.

          WHEREFORE, Plaintiff demands judgment in her favor and against Defendants

individually, jointly and/or severally, in an amount in excess of Seventy-Five Thousand

($75,000.00) Dollars, together with interest, costs, punitive damages, attorney’s fees and such

other and further relief as this Honorable Court deems just, plus injunctive relief.

          Plaintiff additionally prays to be compensated with a rate of pay and other benefits and

emoluments of employment to which he would have been entitled had he not been subjected to

the aforesaid, including but not limited to, an award of front, back and lost pay, compensatory

damages for future pecuniary loss, and for such other and further relief as this Honorable Court

deems just and proper
          Case 2:21-cv-03536-CFK Document 1 Filed 08/09/21 Page 6 of 7




                                               JURY DEMAND

   Plaintiffs hereby demand a jury trial as to all issues so triable herein.




Respectfully submitted,


/s/ David Berlin
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Case 2:21-cv-03536-CFK Document 1 Filed 08/09/21 Page 7 of 7




          EXHIBIT A
